16 F.3d 411NOTICE: Fourth Circuit I.O.P. 36.6 states that citation of unpublished dispositions is disfavored except for establishing res judicata, estoppel, or the law of the case and requires service of copies of cited unpublished dispositions of the Fourth Circuit.
    Darold Donnell TAYLOR, Plaintiff-Appellant,v.P.L. HUFFMAN;  Bland Correctional Center;  Dr. Walker,Defendants-Appellees.
    No. 93-7164.
    United States Court of Appeals, Fourth Circuit.
    Submitted Dec. 16, 1993.Decided Jan. 20, 1994.
    
      Appeal from the United States District Court for the Western District of Virginia, at Roanoke.  Jackson L. Kiser, Chief District Judge.  (CA-92-881-R).
      Darold Donnell Taylor, Appellant Pro Se.
      Karen Lynn Lebo, Office of the Attorney General of Virginia, Richmond, VA;  Frances Merrimon Burwell, Wooten &amp; Hart, P.C., Roanoke, VA, for appellees.
      W.D.Va.
      AFFIRMED.
      Before HALL and NIEMEYER, Circuit Judges, and SPROUSE, Senior Circuit Judge.
      PER CURIAM:
    
    
      1
      Appellant appeals from the district court's order denying relief on his 42 U.S.C. Sec. 1983 (1988) complaint.  Our review of the record and the district court's opinion discloses that this appeal is without merit.  Accordingly, we affirm on the reasoning of the district court.  Taylor v. Huffman, No. CA-92-881-R (W.D. Va.  Sept. 27, 1993).  We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the Court and argument would not aid the decisional process.
    
    
      2
      AFFIRMED.
    
    